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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                                No. 19 CR 565-1
               v.
                                                Judge Harry D. Leinenweber
    EDWARD LEE FILER


      GOVERNMENT’S RESPONSE TO DEFENDANT EDWARD FILER’S
            MOTION FOR JUDGMENT OF ACQUITAL OR,
               IN THE ALTERNATIVE, A NEW TRIAL

        The UNITED STATES OF AMERICA, by its attorney, TIMOTHY M. O’SHEA,

Acting United States Attorney for the Western District of Wisconsin, respectfully

submits the following responses to defendant EDWARD FILER’s motions for a

judgment of acquittal or, in the alternative, a new trial (hereinafter collectively

referred to as the “Motion”).

I. Background

        On September 18, 2020, the grand jury returned a second superseding

indictment against FILER, Robert Gereg, and Paul Kelly. In Counts 1 and 2, FILER

was charged with participating in a fraud scheme involving executions over interstate

wires in violation of 18 U.S.C. § 1343. FILER pled not guilty to these counts (and

others, dismissed by the Court on FILER’s two prior Rule 29 motions1), and proceeded

to a 3-week jury trial held in June 2021.


1As it has previously argued, but will not re-argue in detail here, it is the government’s
position that the Court erred in granting the prior Rule 29(a) motions in that it did so by

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      During trial, the government introduced hundreds of exhibits, principally in

the form of email communications between and among FILER and his co-schemers

exchanged during the course of their scheme. These candid, contemporaneous

communications provided the jury with a clear view of the reality behind the façade

that FILER and his co-schemers sought to convey to the “outside world,” as it was

called in their communications.

      On July 1, 2021, the jury returned a verdict of guilty against FILER on Counts

1 and 2. Filer now moves (for the third time since the close of the government’s case)

for a judgment of acquittal on Counts 1 and 2 pursuant to Federal Rule of Criminal

Procedure 29(a). Filer also moves, in the alternative, for a new trial. These two

motions are addressed in turn below.

II. Legal Standards for Judgment of Acquittal Under Rule 29

       Fed. R. Crim. P. 29(a) provides that, “[a]fter the government closes its evidence

or after the close of all the evidence, the court on the defendant’s motion must enter

a judgment of acquittal of any offense for which the evidence is insufficient to sustain

a conviction.” The legal standards by which the motion must be decided are clear. “In

challenging the sufficiency of the evidence, [a defendant] bears a heavy, indeed,

nearly insurmountable, burden.” United States v. Warren, 593 F.3d 540, 546 (7th Cir.




improperly weighing evidence, by erroneously excluding from its consideration evidence
favorable to the government’s case on the mistaken belief that it could not be considered
against the defendant under FRE 801(d)(2)(c) because the defendant was not charged with a
conspiracy, and by incorporating the Rule of Lenity into its decision.

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2010); see also United States v. Jones, 713 F.3d 336, 339-40 (7th Cir. 2013); United

States v. Berg, 640 F.3d 239, 246 (7th Cir. 2011); United States v. Dinga, 609 F.3d

904, 907 (7th Cir. 2010); United States v. Morris, 576 F.3d 661, 665-66 (7th Cir. 2009).

Moreover, a “defendant faces an uphill battle in challenging the sufficiency of the

evidence.” United States v. Orlando, 819 F.3d 1016, 1021 (7th Cir. 2016). The

reviewing court will view the “evidence in the light most favorable to the prosecution,”

and the defendant “‘must convince’ the court that, even in that light, ‘no rational trier

of fact could have found him guilty beyond a reasonable doubt.’” Warren, 593 F.3d at

546 (quoting United States v. Moore, 572 F.3d 334, 337 (7th Cir. 2009)); see also

United States v. Rahman, 805 F.3d 822, 836 (7th Cir. 2015). In other words, a court

will “set aside a jury’s guilty verdict only if ‘the record contains no evidence,

regardless of how it is weighed,’ from which a jury could have returned a conviction.”

United States v. Presbitero, 569 F.3d 691, 704 (7th Cir. 2009) (quoting United States

v. Moses, 513 F.3d 727, 733 (7th Cir. 2008)); see also Warren, 593 F.3d at 546.

      Under Rule 29, courts “do not reassess the weight of the evidence or second-

guess the trier of fact’s credibility determinations.” United States v. Arthur, 582 F.3d

713, 717 (7th Cir. 2009); see also United States v. Severson, 569 F.3d 683, 688 (7th

Cir. 2009). This strict standard recognizes that “[s]orting the facts and inferences is

a task for the jury.” Warren, 593 F.3d at 547. The Seventh Circuit instructs that:

      [t]he critical inquiry on review of the sufficiency of the evidence to
      support a criminal conviction must be not simply to determine whether
      the jury was properly instructed, but to determine whether the record
      evidence could reasonably support a finding of guilt beyond a reasonable

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      doubt. But this inquiry does not require a court to ask itself whether it
      believes that the evidence at the trial established guilt beyond a
      reasonable doubt. Instead, the relevant question is whether, after
      viewing the evidence in the light most favorable to the prosecution, any
      rational trier of fact could have found the essential elements of the crime
      beyond a reasonable doubt.

Moore, 572 F.3d at 337 (quoting Jackson v. Virginia, 443 U.S. 307, 318-19, 99 S. Ct.

2781 (1979)). Applying these standards to this case, FILER’s convictions must be

upheld.

III. Analysis

      The contemporaneous, documentary evidence in this case was vast, and

overwhelming. Until FILER and his colleagues made the conscious decision to limit

written communications, they dutifully documented their scheme through

coordinating significant portions of it by email. In his 52-page Motion, FILER failed

to address this substantial body of evidence. Instead, FILER filled his oversized brief

with his views of the government’s case and his feigned inability to understand what

the fraud scheme was. In short, FILER repeated the same general argument he has

made to this Court twice before. (See Dkts. 159 and 169.) And he repeats the same

refrain that he unsuccessfully pitched to the jury: “What was the fraud?”

      The scheme in this case – at its core – was not complex. It was about FILER

arranging transactions for Paul Kelly to: (1) get control of the Harris Bank senior

loan and accompanying lien, (2) use that lien as a shield against his business’s other




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creditors, and (3) try to evade detection.2 To accomplish these goals, FILER facilitated

the deception of Harris Bank so that they would sell the loan to BWC Capital, a front

company for Kelly that FILER caused to be created. After the Harris Bank loan and

lien were transferred to BWC Capital, and after a creditor engaged in collection

efforts against Barsanti Woodwork Corporation, FILER caused fabricated loan

documents to be created so that he could trick the Cook County Circuit Court into

entering judgment against Barsanti Woodwork Corporation in favor of the newly

created BWC Capital. With that judgment in hand, FILER then caused attorneys

working at his direction to take steps to strip all assets from Barsanti Woodwork

Corporation (at least on paper, to the “outside world”) so that the assets would not be

subject to the claims of the entity’s other creditors and were instead available for

Kelly to use for his business as it changed to operating under a new legal entity

FILER caused to be created, Barsanti Millwork, which, on paper, Kelly did not “own.”

        As the Court observed in denying FILER’s second Rule 29 motion with respect

to Counts 1 and 2 immediately before the start of closing arguments:

        whether the lien [once assigned to BWC Capital] was enforceable is a question
        of fact for the jury. Taking the evidence in the light most favorable to the
        government, a rational jury could conclude that the lien was not enforceable
        and Filer acted with intent to deceive. For these reasons, Filer's motion for
        judgment of acquittal is denied as to Counts 1 and 2.




2A more detailed, general overview of the scheme is provided in Paragraphs 3-5 of the Second
Superseding Indictment.

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(6/30/21 A.M. Transcript at 15:7-13.) The jury thereafter followed the clear evidence

in finding that the lien was not enforceable – it was a lien that Kelly held against

himself, concealed behind Gereg (the “front guy,” as FILER called him), and used to

hold off the claims of legitimate creditors.

      The evidence has not changed since the Court denied FILER’s second Rule 29

motion with respect to Counts 1 and 2. When the evidentiary record is viewed in the

light most favorable to the government, a rational trier of fact could (and did) find the

essential elements of wire fraud beyond a reasonable doubt.

      a. A Sampling of the Evidence Presented to the Jury

      In early March of 2013, Harris Bank was days away from obtaining entry of a

court order appointing a receiver over Barsanti Woodwork Corporation that would

have spelled the end of the business. The testimony of FILER, Kelly, Jim Sullivan,

and Ashley Brandt were all consistent on this point. As FILER himself testified, his

client (Barsanti Woodwork Corporation) had no defense to Harris Bank’s motion to

appoint a receiver. So Filer played for delay. And with that delay, he presented a faux

investor to Harris Bank who pretended to be interested in purchasing the defaulted

debt for his own account.

      On March 7, 2013, Kelly retained Robert Gereg as a consultant to find

financing for his company. (GEREG_3) On that same day, Gereg was presented by

FILER to Harris Bank as someone interested in purchasing the defaulted loans owed

by Kelly’s company. (FREEBORN_17.) FILER made the introduction by forwarding



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Harris Bank’s attorney a letter from Gereg announcing his desire to purchase the

loans. As the documentary evidence showed, this letter was provided to FILER first

in a draft iteration (see FREEBORN 14), and then in a final version (see FREEBORN

17). While FILER knew that Gereg was a consultant working for Kelly, he presented

him to Harris Bank as something else altogether. He then reinforced this

misrepresentation to Harris Bank in subsequent emails, where he described Gereg

as the “money source” who he claimed was on the “ledge” and ready to walk if a deal

wasn’t soon reached. (KELLY_4.)

      The evidence shows that the plan (from at least mid-March 2013) was that

Gereg would negotiate a deal with Harris Bank for the purchase of the defaulted

loans and he would cause Harris to transfer those loans to an assignee specified by

Kelly. FILER knew that Gereg was not going to be the actual purchaser of the loans

and was wary of him being the paper owner due to lack of trust. On March 14, 2013,

FILER commented to Kelly:

      Spoke to him several times at length. Unfortunately, I do not believe he has a
      deal in place. Good news is he bought us 7 days. Bad news is that I think we
      need to start making other plans. He is wanting to put himself in as the Owner
      of Newco. Huh? I have seen that game before ... he gets new company and
      contracts, you still have debt hanging on your neck and then he decides to
      never give you ownership in Newco. Believe me, it has happened with a friend
      I know. No thank you. Not a good idea. Anyway, if the chips fall, BK of entity
      would be the start followed by a discussion of your personal options. We can
      give Bob one or two more days but after that my opinion is we are wasting our
      time and we need to move on. I am around if you want to talk.

(KELLY_1.) When Gereg did thereafter reach a deal with Harris Bank to sell the

defaulted loans, the assignee was to be an entity FILER caused to be created called

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BWC Holdings. The idea was that the lien could then be used as leverage on Barsanti

Woodwork Corporation’s creditors (see FREEBORN_40), who would think that a

senior secured lender was ahead of their claims.

      Kelly was the owner of BWC Holdings in his purported capacity as “Trustee”

of the “K Family Trust,” an entity that FILER specified, knowing at all times that

such a trust did not actually exist. Against all evidence, FILER points to Kelly’s

ownership of BWC Holdings – a fact disclosed on documents filed with the Indiana

Secretary of State – as transparency mitigating against the existence of fraudulent

intent. A rational juror could see right through this sophistry, however, as the

evidence shows FILER’s multiple attempts to conceal Kelly’s ownership. First, FILER

asked Kelly for one of his (Kelly’s) in-law’s names and Social Security Numbers.

(FREEBORN_32.) When Kelly rebuffed this request, FILER tried to have the entity

formed with just the (non-existent) “K Family Trust” as the member.

(FREEBORN_34.) Only after the Indiana Secretary of State rejected the articles of

organization noting that “an individual must be identified on behalf of the trust along

with the trust name” (FREEBORN_36) did FILER provide Paul Kelly’s name to

Cathleen Franczyk, the paralegal he tasked with forming BWC Holdings.

(FREEBORN_37.)

      When a deal was reached between Harris Bank and Gereg (secretly negotiating

on behalf of Kelly), the loan transfer paperwork was drawn up for the sale of the loans

to BWC Holdings. On April 3, 2013, Harris Bank’s counsel informed Gereg that “[t]he



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Bank requires a corporate resolution for BWC Holdings, LLC before it can release the

Assignment Agreement for signature (i.e., something that says you are a member

thereof and have sole signing authority)” (FREEBORN_46) – the plan quickly

changed. The problem was not the requested resolution was impossible; indeed, a

resolution was created. (FREEBORN_49, pp. 3-4.) The problem was that providing

the paperwork to Harris Bank would reveal that Kelly was behind the entity, and

FILER and his co-schemers accurately believed that Harris Bank would not do the

deal with an insider entity.3 So a new entity was created, and FILER came up with

its name: BWC Capital LLC. (FREEBORN_52.)

        BWC Capital was formed at FILER’s direction. (6/17/21 P.M. Transcript at

75:14-15.) At the time it was created, FILER also caused to be created a membership

interest assignment agreement and an assignment of membership units purporting

to transfer ownership of the entity from Gereg to the (nonexistent) K Family Trust.

(See FREEBORN_54, FREEBORN_54-1, FREEBORN_54-2, FREEBORN_54-3,




3This reality was established at trial through HARRIS_3, an internal Harris Bank document
approving the sale and stating:


        Final approved subject to:
        1. confim1ation that this is a third party, arms length sale
        2. Execution by guarantor Mr Kelly of a global statutory declaration confirming
        assets/liabilities as disclosed.

Harris Bank’s outside counsel for the transaction, James Sullivan, also confirmed in
his trial testimony that Harris Bank required that the purchaser of the defaulted
loans to be a third-party. (6/14/21 P.M. Transcript at 65:23-25.)

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FREEBORN_55.) FILER caused Gereg to sign these documents before he signed the

loan assignment agreement with Harris Bank. (See FREEBORN_55.) Notably,

FILER’s direction to Gereg regarding signing sequence was precisely the opposite of

what transactional attorney Samuel Lichtenfeld advised FILER, when he stated:

      I think Gereg should sign this [LLC Membership Interest Assignment
      Agreement] immediately after he enters (via the new LLC) into the Loan
      Assignment Agreement with Harris. Part of the consideration is the fee he
      earns for the deal pursuant to whatever agreement he has with Paul. The other
      part of the consideration is that he becomes Autl1orized Signatory in the
      Trust's sole discretion. He would then be the Authorized Signatory for any
      closing documents required at the closing of the loan sale.

(FREEBORN_54.) While the government did not argue at trial that the assignment

of membership units actually transferred legal title to BWC Capital from Gereg to

Kelly, a reasonable juror could certainly look at this document and the related

documents (which, as FILER stresses, were signed but not dated) as evidence that

Gereg was simply the “front guy” for Kelly. Indeed, Gereg’s status as the “front guy”

was described by FILER to Lichtenfeld when the latter was reviewing paperwork for

part of the transaction, causing Lichtenfeld to make a contemporaneous note of same

on the draft Assignment of Loan Documents admitted into evidence. (See

FREEBORN_30, p. 2; 6/17/21 P.M. Transcript at 44:1-6.)

      After the Loan Assignment Agreement with Harris Bank was entered into, the

evidence shows that Kelly collected Barsanti Woodwork’s accounts receivables to pay

the $575,000 purchase price. (See, e.g., FREEBORN_65, FREEBORN_67.) Because of

distrust with Harris Bank, Kelly did not deposit the collected payments as he received



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them, but rather held the checks so that they could be turned over directly to Harris

Bank on or before the payment deadline. Due to a concern by Kelly that providing

Harris Bank checks totaling in excess of $575,000 might not result in a refund, Kelly

selected checks totaling as close to $575,000 as possible, and then wrote a check for

$2,239.48 from his personal account to precisely reach the agreed purchase price.

(FREEBORN_79-1; 6/15/21 A.M. Transcript at 87:15-16.) That it was Kelly, and not

Gereg, who provided personal funds to make up the difference owed to Harris Bank

is powerful evidence as to who really controlled BWC Capital.

      Additional documentary evidence (to say nothing of the witnesses’ testimony)

could fairly be interpreted by the jury to support the conclusion that BWC Capital

was simply a front for Kelly. To begin with, the loans purchased from Harris Bank

weren’t even payable to BWC Capital, due to an uncorrected mistake in the

paperwork that made them payable to BWC Holdings. (See FREEBORN_60, p. 9.). If

BWC Capital was really a 3rd party owner of the defaulted Harris Bank loans, then

one would expect the mistake as to the identity of the payee would be corrected.

      Moreover, when Kelly wanted to himself open up a bank account for BWC

Capital (without Gereg’s involvement), he queried FILER on April 25, 2013:

      Ed,

      Would I be able to set up a checking account in the name of BWC Capital? Or
      is it still under the direction of Bob [Gereg]?

(FREEBORN 68.) FILER responded: “I think you can. Sam [Lichtenfeld], can you

opine?” (Id.) After Lichtenfeld concurred with FILER, Kelly responded to both:

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      OK. Thanks Sam.

      I'd like to set it up at The National Bank. I will ask what documents they need
      which I assume you have.

      Do we have any documentation that ties Barsanti Woodwork to BWC Capital?
      Meaning once I sent up an account for BWC Cap, I'd like it to be able to accept
      deposits of checks made out to “Barsanti Woodwork”.

      Paul

(Id.) Thereafter, Kelly informed Lichtenfeld and FILER of the documents he was

sending to the National Bank in his attempt to open the account, documents that

included the executed Assignment of Membership Units that purported to transfer

ownership in the entity from Gereg to the K Family Trust. (FREEBORN_70;

FREEBORN_69, p. 11.) After inquiring as to exactly who he was sending the

documents to and learning that individual’s identity, FILER announced “OK. Send

away.” (FREEBORN_70.) A rational juror looking at FILER’s actions could view this

evidence as indicative of his actual knowledge that Kelly had an ownership interest

in BWC Capital, and that his trial testimony to the contrary was simply not credible.

      On May 28, 2013, Kelly informed FILER, and later informed Gereg, that a

creditor (the union benefit funds) had sent a citation to discover assets to 21

customers of Barsanti Woodwork Corporation. (See FREEBORN_92.) The citation

concerned an approximately $18,000 judgment relating to a past audit, but the

correspondence also referenced a larger claim against the entity then pending. (Id.)

This caused FILER and his co-schemers to take action. After discussing sending a

letter from BWC Capital to Barsanti Woodwork Corporation’s customers directing

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payments to BWC Capital (and asserting seniority over all creditors) (see id.), FILER

turned his attention to obtaining a judgment against his client and in favor of BWC

Capital. (See FREEBORN 95.) Near midnight on May 28, 2013,4 FILER emailed his

associate, Ashley Brandt:

         Per our convo. think about the attached form. Albeit not perfect, it is simple
         and the parties are agreeing to it. Harris assigned its rights to BWC Holdings,
         LLC. It is an Illinois LLC. Cathy Franczyk will get you the address. Bob Gereg
         is its sole owner and will sign. If there is a Consent Judgment clause in the
         Harris docs (like in DMD), then maybe use DMD form. See if Vivek will
         represent BWC. Either way, I want to utilize the route that allows Vivek to
         just walk in to Court and get it entered. The plan is to then wait whatever time
         is required to insure the judgment is solid (30 days is my guess) and then take
         Barsanti into BK. most likely does not completely make sense to you but ... it
         will tomorrow. Get started on the Consent with the goal being to get a
         Judgment Order entered this week, if possible. Gracias Amigo.

(FREEBORN_95.) The Harris Bank documents did not have the confession of

judgment clause5 that FILER hoped might exist (FREEBORN_97-2), so his associate,




4   As set forth in Government Stipulation No. 4:
         Due to technological processes of certain computer programs, the times and
         dates recited on some email exhibits are reported in Greenwich Mean Time
         (“GMT”), which, depending on whether Daylight Savings Time is in effect, is
         five or six hours ahead of Central Standard Time ("CST''). As a result, the
         banner on an email that was actually sent at 10:30 PM CST on January 1st,
         might indicate that it was sent at 4:30 AM on January 2nd, due to the six-hour
         time difference. Because the email banners often report a time without
         specifying whether it is GMT or CST, it is possible that an email response
         might appear to have been sent before the email to which it responds. To aid
         in determining the chronology of emails, where relevant email threads have
         been used.

5FILER confirmed at trial that he meant confession of judgment, and not consent judgment.
(See 6/28/21 P.M. Transcript at 3:11-15.)

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Brandt, drafted Change in Terms Agreements that added a confession of judgment

clause to the acquired Harris Bank loans in exchange for extending the maturity of

the loans to May 20, 2013, a date that had already passed. (FREEBORN_97-3.) The

Change in Terms Agreements were dated April 5, 2013 (despite not having been

conceived until May 29, 2013), and FILER instructed Kelly to sign the fabricated

agreements and date them April 5. (See FREEBORN_102, pp. 1-2.) Thereafter, at

FILER’s direction, Brandt prepared a complaint premised on the fabricated

confessions of judgment, prepared an affidavit chalk full of falsehoods about BWC

Capital and its bona fides as a creditor, and arranged for an outside attorney (Vivek

Jayaram) to file the complaint against FILER’s client, Barsanti Woodwork

Corporation, in the Cook County Circuit Court. (FREEBORN_100, FREEBORN_101,

FREEBORN_103,         FREEBORN_104,           FREEBORN_107,       FREEBORN_108,

FREEBORN_112, FREEBORN_136, FREEBORN_140). On July 3, 2013, the Cook

County Circuit Court entered the judgment. (FREEBORN_150, p. 7)

      After the judgment was entered, Brandt, working at FILER’s direction, drafted

a citation to discover assets against Barsanti Woodwork, and then a Motion to Convey

Assets in Partial Satisfaction of Judgment, and then an assignment and conveyance

of title, transferring all of the assets of Barsanti Woodwork Corporation to BWC

Capital. (FREEBORN_151, FREEBORN_152, FREEBORN_153, FREEBORN_155,

FREEBORN_156, FREEBORN_180.) While the conveyance of title document was

signed on August 21, 2013 (just days before the Barsanti Woodwork Corporation



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bankruptcy filing), it was dated July 3, 2013. (FREEBORN_180.) Kelly admitted in

his trial testimony that the assets weren’t really transferred, and that they were only

transferred “on paper.” (See, e.g., 6/17/21 P.M. Transcript at 11:19-21.) And the

evidence also showed that FILER knew Kelly retained control over the assets, which

is why, for example, on August 26, 2013, FILER knew he could solicit a retainer from

the company that “on paper” had no assets:

        Paulie, need you to get us an advance retainer today for BK for any amount
        you can get us. Dream would be $15,000. OK would be $5,000. It has to be
        before we file. Possible? There will be no more bills after this (except for work
        in the future for wherever and whatever you do). Gracias. Ed.

(KELLY_26-1.) When Kelly told FILER that it would be difficult to get him the

requested payment that day, FILER proposed: “How about date the check today and

give to me when you can?” (Id.) To which Kelly responded: “That I can do. We are

expecting a couple checks late this week.” (Id.) Thereafter, FILER accepted a check

for $12,000 drawn on the Barsanti Woodwork Corporation bank account dated

August 25, 2013. (FREEBORN_191, p. 5.)6 A rational juror could certainly look at

this evidence and conclude that FILER knew that Kelly had not, in reality,

transferred all of Barsanti Woodwork Corporation’s assets, but that the assets had

only been moved on paper to deceive legitimate creditors, and that Kelly retained

control of them.



6 The check FILER accepted was returned for insufficient funds, as FILER’s firm attempted
to deposit the check before sufficient funds were deposited into the account. (6/17/21 A.M.
Transcript at 55:25-56:6.)

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      Around the time that the union benefit funds froze Barsanti Woodwork

Corporation’s receivables with a citation to discover assets, the entity was

involuntarily dissolved by the State of Illinois for failure to pay taxes.

(FREEBORN_85, FREEBORN_86.) So that Kelly could continue to operate his

business and continue to pursue a large contract with Turner Construction, FILER

caused Barsanti Millwork LLC to be formed as yet another front company for Kelly.

(See FREEBORN 127, p. 2.) Ultimately, Gereg was the paper owner of the entity with

secret transfer agreements created just as had been done with BWC Capital (see

FREEBORN_128, FREEBORN_131), but that was only after Kelly and FILER

explored other options. Originally, FILER planned that Barsanti Millwork would be

owned by Kelly through BWC Holdings, which itself was owned by the (non-existent)

K Family Trust. (See KELLY_15, p. 2.) But for Barsanti Millwork to operate it would

need an FEIN, and to get that FEIN, its member, BWC Holdings, would need an

FEIN, which would require using Kelly’s Social Security Number. (Id.) In a cryptic

email, FILER asked Kelly to discuss this with Gereg, prompting Kelly to respond:

      I'm a bit confused on this. What do you want me to discuss with Bob? And what
      are you concerned about? That if the K Family Trust controls BWC Holdings,
      and Holdings is the sole member of Bar Millwork, that there isn't “enough
      daylight”?

      Call my cell if its [sic] easier to explain.

(Id.) A few minutes later, FILER responded to Kelly’s email, inquiring: “They want

your personal FEIN again. I assume that is ok?” (Id.) To which Kelly responded:




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      I suppose, but can that open me up to the union and other creditors if its
      unraveled and believed that I am ultimately behind Barsanti Millwork?

      I'm a bit out of my depth on this topic, so I'll defer to your decision.

(Id. at 1.) Thereafter, Gereg became the “owner” of Barsanti Millwork.

(FREEBORN_121.) FILER caused his own elderly father-in-law, Ralph Prawat, to be

the manager “on paper” of this new entity, and Prawat’s address was used with the

Indiana Secretary of State. (FREEBORN_115.)

      On August 13, 2013, the union benefit funds obtained a judgment against

Barsanti Woodwork Corporation in the amount of $352,377.29. (FREEBORN_174.)

Before that judgment became final, on August 26, 2013, Barsanti Woodwork

Corporation was placed into Chapter 7 bankruptcy, where it was represented that

the entity had no assets whatsoever and that BWC Capital was its largest creditor,

based upon the paper maneuvers directed by FILER. (PUBDOC_008.)

      b. A Rational Juror Could Find All Elements of Wire Fraud Met by the
      Evidence

      When viewed in the light most favorable to the government, there is no

reasonable doubt that the evidence presented in this case establishes the elements of

wire fraud.

      There was a scheme to defraud the creditors of Barsanti Woodwork

Corporation through Kelly gaining control over the Harris Bank lien so that it could

be used to hold back the entity’s legitimate creditors and transfer its assets out of

their reach. The evidence shows that FILER knowingly participated in the scheme,



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and that, indeed, the scheme would not have occurred but for his participation. The

jury heard testimony from Kelly as to what reality was, but, more importantly, the

jury saw the documentary evidence (a sampling of which is recounted above). A

rational juror could certainly find that there was a scheme to defraud creditors of

Barsanti Woodwork Corporation and FILER knowingly participated in it.

      FILER intended to defraud Barsanti Woodwork Corporation’s creditors. A

rational juror could conclude FILER intended to deceive by, among other general

activities: (1) his active efforts to conceal Gereg’s true status as Kelly’s agent from

Harris Bank; (2) his attempts to set up BWC Holdings, BWC Capital, and Barsanti

Millwork in ways that would conceal Kelly’s true interest in and control of the

entities; and (3) his causing fabricated Change in Terms Agreements to be created so

that the Cook County Circuit Court would enter an expedited judgment against his

client, Barsanti Woodwork Corporation, that he could then use as a pretext for the

transfer (on paper) of all assets away from that entity.

      A rational juror could certainly find that materially false and fraudulent

pretenses or representations were employed in the scheme. To begin with, Harris

Bank had to be deceived into believing that it was doing a deal with a real third-party

for the scheme to even get off the ground, and FILER facilitated this deception

through his introduction of Gereg to James Sullivan where he portrayed him (Gereg)

as an investor, his follow-up communications with Sullivan where he maintained the

fiction that Gereg was something other than Kelly’s agent, and then his creation of



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the BWC Holdings and BWC Capital entities so that Harris Bank thought they were

selling the defaulted loans to an entity that was not a front for Kelly. After Kelly got

control of the lien through Gereg, FILER caused materially fraudulent

representations to be made to the Circuit Court of Cook County regarding the

existence of a legitimate obligation owed by Barsanti Woodwork Corporation that

included a confession of judgment provision. Without the confession of judgment

provision (which was created by FILER out of thin air and then substantiated

through fabricated Change in Terms Agreements), FILER would have been unable to

obtain a judgment in the expeditious manner he desired.7 After the fraudulent

judgment was procured from the Circuit Court of Cook County, FILER caused that

judgment to be used to further propagate the materially false pretense that Barsanti

Woodwork Corporation was losing all of its assets to a legitimate creditor, through

the Citation to Discover Assets (FREEBORN_156), Motion to Convey in Partial

Satisfaction (FREEBORN_155), and then, ultimately, the Assignment and

Conveyance of Title that purported to actually transfer the assets (FREEBORN_178).

These documents were all parts of a façade to the “outside world” that Kelly and

Barsanti Woodwork Corporation had lost all of the assets, when, in fact, the assets




7 FILER now suggests that he could have caused a normal complaint to be filed against his
client and then immediately filed an answer admitting all allegations in order to get an
expedited judgment. But what representations would he have made in such a complaint?
Would they have been truthful? FILER obviously could have told the Cook County Circuit
Court exactly what he was up to, but there is no reasonable prospect that the Court would
have entered the judgment he desired.

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remained in Kelly’s control, as FILER well knew and demonstrated through his

contemporaneous conduct (e.g., soliciting and accepting a check from Kelly drawn on

the Barsanti Woodwork Corporation bank account after all of its assets, including

deposit accounts, had purportedly been transferred away). In short, there is ample

basis for a rational juror to find materially false pretenses and statements were a

part of the scheme.

      Lastly, a rational juror could find that the executions charged in Counts 1 and

2 were in furtherance of the scheme. To begin with, FILER stipulated that both

executions were interstate. The first execution, an August 21, 2013, email from Kelly

to Brandt, Gereg, Lichtenfeld and FILER transmitting Kelly’s executed Assignment

and Conveyance of Title document whereby he transferred (on paper) all of the assets

of Barsanti Woodwork Corporation to BWC Capital, was clearly sent for the purpose

of carrying out the scheme to keep the assets from the reach of the entity’s legitimate

creditors. (FREEBORN_178.) It was part of the façade FILER designed. In his

Motion, FILER contends that “there is no evidence in the record that the Assignment

and Conveyance of Title was sent to any creditor or used in any way to further the

scheme” (Motion, p. 26), but that simply isn’t true. The Assignment and Conveyance

of Title was a document created on the eve of the bankruptcy filing (backdated to July

3, 2013) and held out to the “outside world” to misrepresent that the entity had lost

all of its assets. On October 8, 2013, at the creditors’ meeting in the bankruptcy case,

the document was used for exactly that:



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    TRUSTEE CRANE: Well, who was operating from May of 2013 when BWC
    Capital took over the claim of Harris Bank, who was operating? Was that the
    woodworking or was that some other company?

    MR. FAWKES: Barsanti Millwork did not come into being did not start
    operating with these assets until it actually took title to them in July 2013.

    TRUSTEE CRANE: And after it took title in July, what happened?

    MR. FAWKES: That is when Barsanti Millwork began operations. And
    Barsanti Woodwork would have ceased operations as of the time that it
    assigned its assets to BWC Capital.

    TRUSTEE CRANE: Do you know what date in July?

    MR. FAWKES: Yes, I do. It was July 18th. And I believe we provided you with
    a copy of the assignment, but I have another copy here that I can show you. I
    also have a copy of the signed -- this is something we've not provided
    previously. This is a copy of the signed order from the Circuit Court of Cook
    County granting BWC Capital's motion for assignment in convenience of title
    of Barsanti Woodwork's assets.

    TRUSTEE CRANE: This is an ordered based on what?

    MR. FAWKES: It's based on a complaint that BWC capital filed against
    Barsanti Woodwork. I'll walk through the documents here.
          When BWC Capital acquired the note from BMO Harris, it entered into
    a change of terms agreement, which we had mentioned, which extended the
    maturity of the loan to May 20th . That changed the terms agreement included
    a provision -- a confession of judgment provision which provided that in the
    event of any default, that Barsanti Woodwork would confess judgment, and
    that would pave the way for BWC Capital to take assignment of the assets,
    basically remove foreclosure. So when the note matured and it was not paid,
    an event of default was declared and a complaint was filed by BWC Capital
    against Barsanti Woodwork in the Circuit Court of Cook County, and a
    judgment was then entered on July 3rd in the amount of $1,582,955.71.
    Subsequent to that, citation to discover assets was issued by. BWC to Barsanti,
    and subsequent to that an assignment and conveyance of title was executed.
    That was on July 18th.




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(PUBDOC 10 at 14:4-16:11) (emphasis supplied.) The audio of this creditors’ meeting

was played for the jury and provided on a computer for their review in deliberations.

FILER’s claims to the contrary notwithstanding, there is ample evidentiary basis for

a rational juror to find that the August 21, 2013, email was in furtherance of the

scheme.

      The second execution is the August 22, 2013, email in which Gereg suggests to

FILER, Brandt, Kelly, and Lichtenfeld that in light of the contemplated bankruptcy

filing, Kelly endorse checks Barsanti Woodwork Corporation received from its

customers to BWC Capital so that the proceeds can be rolled into Barsanti Millwork.

(FREEBORN_181.) Gereg also suggests that they consider sending a letter to

Barsanti Woodwork Corporation’s customers that directs the matter of payment and

cites the (fraudulently obtained) court order. (Id.) Interestingly, FILER asserts in his

Motion that this was not an execution because (1) there wasn’t evidence that the

specific tactical suggestions floated by Gereg were acted upon, and (2) “the alleged

fraud scheme was completed prior to August 22, 2013.” (Motion, p. 27.) Taking the

last point first, the alleged fraud scheme began “in or about March 2013, and

continu[ed] until in or about August 2015…” (Second Superseding Indictment, ¶ 2.)

The ongoing actions by the schemers to conceal the assets of Barsanti Woodwork

Corporation were not completed prior to August 22, 2013, and it is not within FILER’s

power to alter the grand jury’s allegations. To FILER’s first point, a rational juror

could certainly find that the email facilitated the scheme since it addressed the issue



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of concealing the funds received by Barsanti Woodwork Corporation in light of the

contemplated bankruptcy filing, and the concealment of these and other assets was

the very heart of the scheme. Schemers communications about how they will tactically

accomplish an ongoing scheme – when conducted over interstate wires – are certainly

in “furtherance” of the scheme, regardless of whether every tactical idea suggested is

implemented.

      c. A Rule 29 Motion does not call for a weighing of the evidence

      In his most recent Rule 29 Motion (consistent with his prior two motions),

FILER improperly invites the Court to weigh the evidence.

      Determinations of credibility are made by the jury, not the Court. For example,

FILER quotes Gereg’s deposition testimony throughout the Motion. As the Court

knows, Gereg pled guilty to committing perjury at that deposition. While the

government introduced the deposition testimony (not for truth of the matter asserted,

but to show that FILER’s deposition testimony for which he was charged with perjury

was crafted to be consistent with Gereg’s false testimony for which he was convicted

of perjury), this testimony became a moot point when the Court granted FILER’s first

Rule 29 motion to acquit him of perjury. Nonetheless, after his acquittal for perjury,

FILER’s attorneys, under the notion that it was necessary for “completeness,” read

in numerous portions of Gereg’s deposition testimony that the government had not

previously read into evidence. FILER now cites to that testimony as if it is truthful,




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but the fact is that a rational juror could reject this testimony as incredible, and the

jury here obviously did.

         The Motion is effectively FILER’s attempt to reargue the evidence to the

Court, hoping the Court will bite on incredible assertions that the jury rejected.

FILER argues, for example:

        Fawkes also informed Mr. Filer that that the trustee had the power to waive
        Woodwork’s attorney-client privilege, meaning the trustee would be able to
        obtain all of Filer’s emails with Kelly related to the various transactions.
        Exhibit 8, at 109:2-16. Despite being fully aware of the detailed and thorough
        investigation that would result, Mr. Filer agreed with Fawkes that Woodwork
        should proceed with the bankruptcy filing and Mr. Filer never instructed
        Fawkes to withhold or conceal any information from the trustee. Id. at 109:17-
        110:5. After the filing, the trustee immediately commenced a thorough
        investigation, just as Fawkes predicted. Id. at 110:9-111:9. The act of filing for
        bankruptcy was the ultimate anti-concealment. If Mr. Filer actually believed
        he had participated in a fraud scheme, bankruptcy would have been
        unthinkable.

(Motion, p. 10.) This argument might be compelling, but for the actual facts that

FILER concealed documents from the trustee when they were demanded by subpoena

and did not acknowledge same.8 So FILER can say that the bankruptcy was the



8 The government recognizes the Court granted FILER’s Rule 29 motion with respect to
concealing records because the general counsel of FILER’s former law firm turned over the
records 15 months after FILER concealed them from the trustee, but respectfully submits
that the ruling was clearly erroneous. The violation of 18 U.S.C. § 152(9) occurred when
FILER instructed Brandt to withhold responsive documents and then transmitted the
production to the trustee with a cover letter representing that all responsive documents had
been produced (and specifically recognizing that the trustee had waived the attorney-client
privilege between Barsanti Woodwork Corporation and its various counsel at Freeborn &
Peters). The fact that a different attorney at Freeborn & Peters produced the documents 15
months later after discovering what FILER had done, doesn’t undo the fact that FILER
violated 18 U.S.C. § 152(9). For FILER to now argue in his Motion that the bankruptcy filing
was the “ultimate anti-concealment” is disingenuous, in the extreme.

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“ultimate anti-concealment,” but a rational juror could see FILER’s deliberate

concealment during that matter from the evidence presented at trial, including

FREEBORN_203, FREEBORN_204, and FREEBORN_207.

      In sum, viewing the evidence in the light most favorable to the government,

there was more than sufficient evidence for the jury to reasonably conclude that

FILER knowingly and intentionally participated in the scheme to defraud as charged

in Counts One and Two.


IV. Legal Standard for New Trial Under Rule 33

      Motions for a new trial are governed by Fed. R. Crim. P. 33(a), which provides

that “the court may vacate any judgment and grant a new trial if the interest of justice

so requires.”

      Applying that standard, the Seventh Circuit has noted that a new trial is

warranted only when the evidence “preponderate[s] heavily against the verdict, such

that it would be a miscarriage of justice to let the verdict stand.” United States v.

Reed, 875 F.2d 107, 113 (7th Cir. 1989) (quoting United States v. Martinez, 763 F.2d

1297, 1312-13 (11th Cir. 1985)). Stated differently, a district court “may grant a new

trial if the verdict is so contrary to the weight of the evidence that a new trial is

required in the interest of justice.” United States v. Conley, 875 F.3d 391, 399 (7th

Cir. 2017)

      “A jury verdict in a criminal case is not to be overturned lightly, and therefore

a Rule 33 motion is not to be granted lightly.” United States v. Santos, 20 F.3d 280,

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285 (7th Cir. 1994) (internal quotation marks omitted). “[T]he exercise of power

conferred by Rule 33 is reserved for only the most extreme cases.” United States v.

Peterson, 823 F.3d 1113, 1122 (7th Cir. 2016) (internal quotation marks omitted).



V. Analysis

      a. FILER’s complaints about Professor Markell’s testimony are not
      based in reality, and are without merit

      FILER complains at length in his Motion about the rebuttal testimony of

Professor Bruce A. Markell. But FILER is substantially less than complete (and

frequently inaccurate) in what he tells the Court. Before trial began, the government

was clear with defense counsel as to when the specific rebuttal testimony from

Professor Markell, if any, would be disclosed. Indeed, the timing was reiterated in the

June 24, 2021, disclosure which FILER attaches to his Motion as Exhibit 18:

      Dear Counsel,

      As previously disclosed, the government intends to call Professor Bruce A.
      Markell as a rebuttal expert witness. Professor Markell will attend the
      testimony of defendant’s expert witnesses so that he can rebut the testimony
      actually delivered, if necessary, as opposed to the testimony recounted in the
      March 23, 2021 expert disclosure, which relies in substantial part on “facts”
      that are not a part of the evidentiary record,[footnote omitted] and therefore, is
      presumably subject to material change.

      The opinions in the March 23, 2021, disclosure that Professor Markell
      disagrees with (accepting the recounted factual premise(s) in the disclosure as
      true for the limited purpose of this exercise) and may be asked to testify about
      are:

              Bivona Opinion 2: “Use of a ‘friendly creditor’ is not an uncommon
              practice in workout scenarios.”

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          Factor Opinion 2: “The filing of the Chapter 7 bankruptcy petition did
          not harm Woodwork’s creditors and in fact benefitted them.” (Professor
          Markell concurs that creditors “benefitted” from the financial recovery
          obtained from defendant’s law firm (in the same way that a tort victim
          benefits from the tort because s/he is able to sue the tortfeasor) and the
          sale of the equipment, realities alluded to in the explanation of Factor
          Opinion 2. However, if these items were not present, and it was a “no
          asset” case as indicated in the debtor’s sworn bankruptcy disclosures,
          Professor Markell does not share Mr. Factor’s view that the bankruptcy
          filing provided “a more efficient and cost effective alternative for
          resolution of the claims.” Professor Markell also may be called upon to
          provide more complete explanations of post-bankruptcy litigation
          possibilities and derivative standing than are conveyed in the
          explanation of Factor Opinion 2.)

          Factor Opinion 4: “Sufficient information was disclosed in the Woodwork
          bankruptcy petition to provide the case trustee the information he
          needed to identify potential causes of action and further areas of
          inquiry.” (Assuming the recited factual premises in the explanation as
          true, Professor Markell disagrees with Mr. Factor’s conclusions in ¶¶ 3
          and 7 of the discussion of Factor Opinion 4, and disagrees with ¶¶ 5 and
          7 to the extent of the level of investigation implied.)

          Factor Opinion 8. “Whether a lien is enforceable is a legal question with
          gray areas.”

    As noted in prior discussions on the subject of rebuttal expert testimony, in the
    event that the conclusions of Messrs. Bivona, Factor and Chapman are
    unaffected by the actual evidence (e.g., Chapman Opinion 1 does not yet
    acknowledge the falsified Change in Terms documents, or the false
    representations in the affidavit and complaint filed in Cook County premised
    on the falsified Change in Terms documents), then Professor Markell may be
    called to rebut such testimony.

    The precise subjects of Professor Markell’s rebuttal testimony will be provided
    in advance of his testimony, but obviously cannot be provided until after he
    has had the opportunity to observe the testimony of Messrs. Bivona, Chapman,
    and Factor.

    Feel free to contact me with any questions.



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(June 24, 2021, disclosure attached to FILER’s Motion as Exhibit 18) (emphasis in

original.) For FILER to now act as if the timing of the later disclosure was a surprise

to him, is simply disingenuous. The government could not disclose the now

complained of rebuttal testimony until after FILER’s witnesses delivered the

testimony that was to be rebutted. Professor Markell was the government’s only

rebuttal witness, and the disclosure was provided after FILER presented his case (his

final witness being a designated expert, Robert Chapman) and before Professor

Markell testified in rebuttal. For FILER to now say that “the Court should take the

Government’s late disclosure into account when determining whether a new trial is

warranted in the ‘interest of justice”’ (Motion, p. 30) is cynical and desperate. FILER

filed plenty of motions leading up to and throughout the trial. If FILER had an issue

with the timing of expert disclosure, he could have filed a motion – or at least raised

his complaint with the government – sometime before this Motion. FILER can’t

credibly claim surprise at the timing of the disclosure since it was provided exactly

when the government had said it would be provided. FILER’s attempt to obtain a new

trial on this contrived ground should be rejected.

      FILER’s complaints about the substance of Professor Markell’s testimony

generally are curious. FILER now expresses a view of expert testimony that is similar

to the views expressed in the government’s April 8, 2021, Motion to Exclude and/or

Limit Expert Witness Testimony. (Dkt. 96.) But it is untenable for FILER to offer

experts to announce conclusions (as he did on multiple points here), only to complain



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that a rebuttal expert offered differing conclusions on the same points. By his Motion,

FILER makes clear that his real position is that he should be allowed to offer

conclusions from paid witnesses designated as experts, and the government should

be precluded from rebutting those conclusions with an expert witness.9

        FILER spends 12 pages of his oversized Motion asserting that Professor

Markell’s rebuttal testimony (the transcript of which, in its entirety, totals 21 pages

inclusive of the cover sheet and signature page) was improper in myriad respects. The

simple fact though is that each actual opinion offered by Professor Markell was an

explanation of why he disagreed with a conclusion delivered by Bivona.

        In his first complaint, FILER contends:

        Perhaps the most prejudicial of Markell’s opinions is that the debt between
        BWC Capital and Woodwork was extinguished due to the mere
        “existence” of the membership assignment agreements between the K
        Family Trust and BWC Capital, because those agreements essentially made
        Kelly the owner of BWC Capital. Exhibit 12, at 12:15-22. Markell told the jury
        that these agreements gave Kelly “an option to become the owner,” and “the
        existence of an option to become the owner, that puts you in the same place as,
        basically, as an owner.” Id. at 12:23-13:8.

(Motion, p. 33.) (emphasis supplied.) But Professor Markell did not actually testify

to what FILER describes; his testimony was more nuanced and less conclusory than

that. Professor Markell did not testify that the existence of the membership

assignment agreements extinguished the debt. He testified that the agreements


9 The government’s expert, Professor Bruce A. Markell, is a professor at Northwestern
University Pritzker School of Law, with a distinguished background that includes
partnership at Sidley & Austin, serving as a federal bankruptcy judge, and numerous
academic appointments.

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would be relevant to reviewing the relationship between Kelly and Gereg to

determine if the debt had been extinguished. (See 6/29/21 Tr. at 12:15-13:8.)10 Indeed,

Professor Markell never testified that the debt in this case was extinguished.

FILER’s first complaint describes testimony that did not occur.

         In his second specific complaint, FILER represents that: “Markell also opined

that BWC Capital’s lien was invalid, and the debt between Woodwork and BWC

Capital was extinguished, because BWC Capital was Woodwork’s agent, and an agent

cannot hold the debt of a principal.” (Motion, 45.) Again, FILER complains of

testimony that is absent from the trial transcript. Professor Markell never

testified that “BWC Capital’s lien was invalid.” He never testified that that the debt

was extinguished. He never testified that an agent cannot hold a debt of a principal.



10Q. And would it be -- in reaching this determination about whether the debt
would have been extinguished based on the relationship between Mr. Gereg and Mr.
Kelly, would the existence of assignment of membership agreements between Mr.
Gereg and Mr. Kelly and the signing of the assignment of membership with respect
to both Capital and Millwork be relevant?

A. Absolutely, yes, to both.

Q. Can you explain why?

A. Well, if, in fact -- as I understood the testimony over Friday and yesterday and
today, if there was an agreement between Kelly and Gereg of whatever type that
Kelly could re-acquire the interests upon the happening of certain conditions, he
would, in essence, be the owner. I mean, because he has an option to become the
owner. And to treat him differently than an owner in that case when there are
conditions on it -- I mean, the conditions normally would have to occur, but the
existence of an option to become the owner, that puts you in the same place as,
basically, as an owner.


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FILER simply created this purported testimony to complain about and to try and

trick this Court into granting him a new trial.

      When not attributing nonexistent testimony to Professor Markell, FILER uses

his oversized Motion to try and refute the nonexistent testimony. For example,

Professor Markell never testified that an agent could not hold a debt of a principal.

If FILER is confused about this reality, it is because he did not read the testimony

where agents and debts were actually discussed:

      Q.     Mr. Bivona stated that, "So, in my opinion, based on -- based on my
             experience in dealing with loan assignment transactions throughout my
             career, I believe following the completion of the assignment agreement
             and payment of the purchase price, that BWC Capital was now, you
             know, the rightful owner of that note that was due from -- or the two
             notes that were due from -- Barsanti Woodwork."

                   Do you agree with his opinion; and, if not, can you explain why?

      A.     I'm not -- I'm not sure whether I agree or disagree because there are
             facts that would make that not true. For example, if -- there could be a
             level of connection between the purchaser of a note and the borrower on
             the note that would affect the debt.

      Q.     And why is that?

      A.     You want me to go into legal doctrine on this?

      Q.     Just explanation of the facts that would be relevant.

      A.     The facts that are relevant is that if someone owes a debt and someone
             is unwilling to talk with them about reduction or giving some relief and
             then someone else comes along and says, I want to buy the same debt --
             and that happens fairly regularly -- the person who doesn't want to deal
             with the debtor because of a lack of trust or a lack of information will
             want to know that the third party is also free, if you will, of any
             connections with the debtor.



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                   Moreover, there's just a general policy that you can't owe money
             to yourself.

      Q.     Can you explain that as far as whether or not that would have an impact
             on the validity of the liens and whether the debt would be extinguished?

      A.     Yes. I mean, depending on the facts -- and that's obviously for the jury
             to decide -- if someone acquires their own debt, the debt's extinguished.

                    And that extends to not only just debts in name only, but if debts
             are held -- there's been a lot of talk -- or at least I've heard the last couple
             days a lot of talk about front persons, nominees, holders, placeholders. I
             mean, if someone is, for example, an agent, that means they're acting on
             behalf of the principal. And if they acquire the debt for their principal,
             then you have a situation the principal owes money and is owed money
             and there would be cancellation.

(6/29/21 P.M. Transcript at 10:12-12:2) (emphasis supplied.) According to FILER, this

testimony is “wrong” because in Matter of Lifschultz Fast Freight, 132 F.3d 339, 347

(7th Cir. 1997) the Seventh Circuit held “[a]ssuming there was no deception, we see

no reason to treat an insider's loan to a company more poorly than that of a third

party’s.” FILER fails to explain how the equitable subordination analysis of Lifschultz

renders Professor Markell’s opinion “wrong.” Lifeshultz involved loans actually made

by insiders to an entity that thereafter went bankrupt; it was not a situation where

an entity used (and funded) an agent to buy its own outstanding debt. The case is

simply and entirely inapplicable here.

      In his third specific objection, FILER takes exception with Professor Markell’s

disagreement with Bivona’s opinion as to what constitutes a third party. (Motion, p.

38.) The relevant testimony from Professor Markell is as follows:




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      Q.     […] I'd like to start out with Mr. Bivona gave an opinion concerning what
             constitutes an arm's-length third party from the borrower. In particular,
             he stated -- his opinion was that, “Someone that the borrower hires as a
             consultant or agent is considered an independent, arm's-length third
             party, and that BWC Capital was an arm's-length third party from the
             borrower.”

                    So, do you agree with Mr. Bivona's definition of whether a
             consultant or agent can be a independent, arm's-length third party, and
             do you agree with his conclusion that BWC Capital was an arm's-length
             third party?

      A.     I do not agree with his opinion as to the definition. I do not agree with
             his opinion as to the status of BWC Capital.

      Q.     Can you explain with respect to the first opinion?

      A.     When someone is an agent or hired by someone, they are perceived not
             as a third party, but as aligned with or in concert with the person for
             whom they are an agent.

                   Among the documents I've also seen have been the retention
             agreement -- or at least seen the first page of the retention agreement -
             - between Kelly and Mr. Gereg and the entities. Anybody of who knew
             of that arrangement would know that these were not independent
             parties; that they were aligned.

      Q.     And what are the duties between a principal and an agent? And who
             would be the principal in the relationship. I jumped ahead, but --

      A.     Principal would probably be Mr. Kelly. The agent would be Mr. Gereg or
             Mr. Gereg's entities.

(6/29/21 P.M. Transcript at 3:8-4:5.) FILER contends that based on the Seventh

Circuit’s ruling in United States v. Weimert, 819 F.3d 351 (7th Cir. 2016), Professor

Markell’s opinion that Gereg was an agent acting for Kelly is “contrary to the law of

the Seventh Circuit in criminal cases.” FILER is simply wrong, and his reading of

Weimert is irreconcilable with the actual majority opinion in that case.

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         In Weimert, the president of an investment company (IDI) that was selling its

50% interest in a real estate venture used deception to make himself a part of the

deal, getting a small ownership stake when the interest was sold to the purchaser.

Neither the purchaser nor the seller was deceived as to the fact that Mr. Weimert

was going to get a stake as part of the sale, but, rather, they were deceived as to why

(each thinking that the other desired or required it). In vacating Mr. Weimert’s

convictions, the majority of the Seventh Circuit panel noted:

         The government's strongest argument is that Weimert's actions amounted to
         a scheme to defraud IDI because, even if an outsider might be permitted to
         mislead it about negotiating positions, Weimert could not do so about his own
         role in the transaction. Based on the testimony of IDI directors, we must
         assume that they trusted Weimert on all aspects of the Chandler Creek deal,
         including what he told them about the buyer insisting that he participate in
         the deal.

         In light of the disclosure of all terms of the sale, as well as our doubts that an
         officer or other fiduciary must disclose his negotiating position when dealing
         with the company about his own compensation, we think the better approach
         is to treat this as closer to an arms-length transaction, at least for purposes of
         criminal law.

United States v. Weimert, 819 F.3d at 366. FILER attempts to take the above-quoted

observation in Weimert and transform it into a rule that a front guy (or front

company) isn’t a front guy (or a front company). That isn’t what the decision stands

for.11 Weimert is simply inapplicable here, as it addressed an allegation that an agent




11It should be noted that if FILER’s desired rule were in fact the rule, then, for example,
there could be no such thing as a straw purchaser in a mortgage fraud scheme.

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deceived his principal, not, as here, that an agent deceived a third party for the

benefit of his principal.

       In his fourth specific complaint, FILER accuses Professor Markell of

“provid[ing] the jury with an inaccurate statement of the law” (Motion, p. 39) based

on the following exchange, where Professor Markell disagreed with Bivona’s opinion:

       Q.     And, then, with respect to BWC Capital as to whether it was a friendly
              creditor?

       A.     I wouldn't say it was a friendly creditor. Given the arrangement, given
              the -- I mean, I was here for Mr. Filer's testimony and understood
              through him -- through that testimony -- the arrangements between the
              two. But when someone comes in in less than a month, takes over a
              company without putting in any of their own money, it doesn't seem to
              me to be really a creditor. And it may be friendly, but it's more like an
              agency relationship.

(6/29/21 at 7:8-17.) The “statement of the law” FILER complains of was apparently

Professor Markell’s observation that Gereg put no money in to BWC Capital to

purchase the debt from Harris Bank (the entire purchase price, of course, having been

paid by the defaulted borrower, Barsanti Woodwork Corporation). FILER cites

authorities for the proposition that a third party can pay for rights transferred to

another, but that isn’t something that has ever been questioned. Here, it wasn’t a

third party that paid for the loans, it was the defaulted borrower. And the issue is

whether a defaulted borrower still actually owes a loan when the borrower has

purchased the loan vis-à-vis a front company. None of FILER’s cited authorities even

come near that issue.




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         In his fifth specific complaint, FILER complains about Professor Markell

providing an opinion as to whether sufficient information was disclosed to Harris

Bank to satisfy the bank’s requirement that the purchaser be an arms-length third

party. Professor Markell was simply testifying on the same subject that Bivona

testified to.12 Professor Markell’s testimony (unlike Bivona’s), was consistent with the

testimony of the bank’s outside counsel, James Sullivan, about whether the bank

would want to know about the Gereg/Kelly relationship in evaluating whether this

was a third-party, arms-length sale. FILER’s questioning of Professor Markell’s

credentials to hold his opinion, is, in short, ridiculous. Professor Markell has a

breadth of experience including his years as a commercial lawyer that rose to the

level of partner at Sidley & Austin. As the evidence showed in this case, the bank’s

outside counsel, James Sullivan, was the bank’s point of contact with Gereg in

completing the deal they thought was being done with a third party (and not a front

for the defaulted borrower). The idea that a commercial lawyer is not competent to

speak to the type of information a bank would find material in this instance is

ridiculous, particularly when the expert witness who purports to possess the

competence to deliver the opinion, Bivona, is oblivious to the notion that there can be




12It should be noted that FILER vigorously opposed the government’s multiple attempts to
call in its case-in-chief, and in rebuttal to Bivona, a witness from Harris Bank itself, namely
Pamela Wicker, who was actually involved in the BWC Capital-Harris Bank transaction.
Similarly, FILER also opposed testimony on materiality from other witnesses actually
involved in the transaction on that basis that it was irrelevant because materiality was an
objective and not subjective inquiry.

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any interest other than title ownership (thus constricting his view of what a “third

party” is). (See, e.g., 6/25/21 A.M. Transcript at 138:19-140:1.) This is, again, an

instance of FILER’s assertion that he should be able to pay a witness to say ridiculous

things, and the government should not be allowed to call an actual expert to rebut

the testimony FILER purchased.

      In his sixth specific complaint, FILER says that Professor Markell “opined that

it is not appropriate for a senior lienholder to assert a lien in bad faith or for an

improper purpose” and that “[t]he only purpose this testimony served was to

insinuate that BWC Capital’s assertion of its lien was improper or wrong.” (Motion,

pp. 40-41.) The fact is though that Professor Markell simply noted that there have

been cases where a senior lender’s bad faith or improper motive have been an issue,

and “[i]n essence, just because you have a senior position doesn't mean you can do

everything -- anything. It's subject to being acting in good faith and in an effort to

collect the debt in a reasonable manner.” (6/29/21 P.M. Transcript at 15:13-16.)

Professor Markell’s observations were made in rebuttal to Bivona’s much more

certain views that it is “appropriate for a borrower to use senior liens that it has

against its assets as leverage to negotiate with its junior creditors” and that it is

“appropriate for friendly creditors to use a senior lien as leverage against another

creditor.” (6/25/21 A.M. Transcript at 109:18-20, 110:9-11.)




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      b. The Jury’s Verdict Is Not Contrary to the Weight of the Evidence

      FILER’s assertions that verdict was contrary to the weight of the evidence are

unfounded. First, FILER claims he lacked “motive” to engage in fraud, apparently

because he didn’t make a substantial amount of money from it. But FILER has not

been accused of properly pricing the risk of his criminal behavior; FILER has been

accused (and convicted) of knowingly participating in a fraud scheme. And, contrary

to FILER’s arguments, it’s not as if he never expected to be paid by Kelly for his

conduct. As he told Kelly on July 13, 2013:

      Paul, I know times are tough but I was wondering if the Co. has any cash
      around to apply to at least some of the work that Tom, Ashley, Sam and now
      Vivek are doing. I have not nor will I (until you are back on your feet) bill you
      for my own time. Under the BK rules we can call it an advance retainer.
      Obviously I know you will not be able to cover all of it but these guys are really
      putting in a lot of time on some complicated issues. Vivek is also out of pocket
      for me. I was planning on just allowing you to pay us out of Newco later but
      Tom says that the advance retainer would help with the separation optics we
      have been seeking. anything you could do would be appreciated. Have a good
      weekend. Thanks. Ed.

(FREEBORN_159) (emphasis supplied.) Notably, FILER fails to mention this email

showing his (1) expectation of eventual payment, and (2) full knowledge of who

“Newco” actually was, in contending that he was convicted against the weight of the

evidence.

      FILER’s claims about transparency by virtue of the bankruptcy filing are

particularly bold in light of his obstructive conduct during that proceeding. He now

claims to have known all of the incriminating emails and documents would be turned

over to the Chapter 7 trustee, but the fact is that he tried to stop that. And the jury

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saw that. And while the Court acquitted Filer of violating 18 U.S.C. § 152(9) because

someone else turned over the documents FILER concealed 15 months after they were

concealed, it is remarkably meritless for FILER to now claim that he

      knew that all of the Freeborn attorneys’ emails regarding the representation—
      the very emails that the Government contends evidence the fraud scheme—
      would be turned over to the trustee. Mr. Filer’s actions are inconsistent with
      the actions of someone who was knowingly engaged in a scheme to defraud.

(Motion, p. 43.) FILER’s present contention – in light of his documented conduct – is

specious. FILER’s concealment of records showing his involvement in the scheme was

rightly considered as evidence of his fraudulent intent.

      FILER says that no “credible” witness testified that he did anything “wrong.”

The witnesses in this trial testified to the occurrences they participated in or

observed. It was not the function of a witness to pronounce FILER’s conduct as

“wrong,” and FILER most certainly would have objected if the government had sought

to elicit such testimony. This case was largely made on the emails and other

documentary evidence. What the totality of the evidence showed – beyond a

reasonable doubt – is that FILER participated in a scheme to defraud the creditors

of Barsanti Woodwork Corporation.

      c. FILER’s Contention that Misleading, Confusing, and Prejudicial
      Evidence was Presented to the Jury is Not Well Founded

      FILER claims that the government has had “constantly shifting theories

regarding why BWC Capital was not entitled to enforce its lien.” (Motion, p. 48.) In

support of this contention, FILER points to different words used to describe the same



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concepts at various points. The reality is – and the evidence has shown – that the

transaction FILER orchestrated enabled Kelly to use Barsanti Woodwork

Corporation’s funds to purchase the defaulted loans and liens, and caused them to be

transferred to BWC Capital, an entity that Kelly had an interest in and controlled

through his “front guy,” Gereg.

      FILER is correct that the government did previously argue that the Kelly was

the owner of BWC Capital, but the government discontinued this ownership

argument after the Court accepted FILER’s interpretation of the membership

assignment transfer agreement and argument in his motion in limine that because

not all of the transfer related documents that Gereg signed were dated, that the

Assignment of Membership Units, reprinted below, was ineffective.




(FREEBORN_58.) While the government stopped arguing that the Assignment of

Membership Units did what it purported to do after the Court’s ruling, the fact is that


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title ownership to BWC Capital was never a critical part of the charged fraud scheme.

What was critical – and what was proven – was that Kelly gained control of the lien

against his own company and used it to defraud his company’s legitimate creditors.

He did this through his control of and interest in BWC Capital, which was made

possible through the direction and actions of FILER. The government’s argument has

not shifted. Gereg was the “front guy,” and irrespective of what words were on a piece

of paper, BWC Capital was subject to Kelly’s interest and control.

      FILER accuses the government of making improper arguments to the jury

regarding Harris Bank during closing argument, using statements the Court made

in denying FILER’s proposed instruction to support his position. But FILER ignores

the contemporaneous clarification the Court provided regarding its ruling:

      MR. NETOLS:     Just for clarity, Judge, you're going to deny the instruction,
               but the case, as charged, is that Harris was deceived into thinking
               that they were dealing with the third party, and that caused them
               to assign the lien. This is not like -- this is not a question of
               parties' motivation. And Weimert is clear, the issue is it's material
               facts. In Weimert, it was relationships between parties and
               compensation. In this case, it was directly the bank, based on the
               documents, was not going to deal -- do a deal with the third party
               –

      THE COURT:          Well, I'm denying the instruction.

      MR. NETOLS:   But I say it sounds like you're arguing that -- saying that
               we can't argue that Harris Bank was deceived as part of the
               scheme.

      THE COURT:      Well, it could be argued as part of the scheme, but it
               would not support a scheme itself. All right. That's the court's
               ruling, in any event. We will proceed accordingly. So do the best
               you can on your --

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(6/30/21 at 17:2-18) (emphasis supplied.) The Court specifically noted that the

government could argue the false representations to Harris Bank. While the Court

may have ruled immediately before closing that Harris Bank could not be a victim of

the scheme under Weimert, it is established law in this circuit that “wire fraud does

not require the false statement to be made to the victim of the scheme.” Weimert at

355. And the fact is that if Harris Bank had not been deceived into believing that

Gereg was a real third-party purchaser, then the loans and liens would not have been

assigned and the scheme that occurred would not have been possible.

      FILER accuses the government of eliciting testimony from Kelly regarding

FILER’s presence at a meeting, when the government knew FILER was not in fact

present. First, the meeting did occur. Second, the testimony from Kelly concerned

what Fawkes, not FILER, told him at the meeting. Third, the government provided

FILER with a stipulation in advance of trial and FILER impeached Kelly on cross-

examination regarding his absence from the meeting. FILER does not suggest that

Kelly was testifying to anything other than his true recollection of the meeting. The

government acknowledged that Kelly’s recollection does not reconcile with building

access records which show FILER’s entry into the building after the meeting had

concluded, which is why the government agreed to a stipulation in advance of trial.

All of this was presented to the jury, and the government never argued to the jury

that FILER was present. The apparently mistaken recollection of Kelly was hardly

prejudicial to FILER. Rather, it was beneficial to FILER as his counsel used it in the

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concluding segment of his cross-examination to question the accuracy of Kelly’s

recollection. (6/16.21 Tr. at 63:1-65:15.)

      FILER’s assertion that the government misused his “Let’s attack the Union

next” email is ridiculous. The moment that FILER and the co-schemers obtained a

deal to get control of the Harris Bank lien, Gereg says “TOUCHDOWN,” Kelly offers

words of reflection, and FILER says “Let’s attack the Union next.” (See

FREEBORN_61.) FILER was clearly aware that the lien, which they had obtained

control of through deception, gave them leverage over the union.

      FILER’s contention that the government made “repeated statements designed

to make the jury dislike [him] based on his successful career and high income” is

misplaced. The government is not the one who raised these issues; it was FILER. He

raised these issues in his opening, during the course of the case, and in his closing.

FILER showed the jury charts with his legal billings, and made arguments such as:

      What are their [the government’s] arguments, that Millwork is going to pay
      down the road because he says pay me out of Newco for some of what is owed?
      That's ridiculous. He's got a very large practice with a lot of clients. We
      didn't show you that to say he's a big shot. We showed you that to say
      where does Barsanti fit in the scheme of things. They're not a blip on
      the radar screen. They're not somebody. There is no way he would get
      involved in this, in a fraud scheme, for something where he gets absolutely
      nothing except a headache. He helps a neighbor, and he ends up here.

      He had nothing to gain, and he had everything to lose, his law license, his
      family's security, his entire career, his reputation. It does not make any sense
      to me that he would risk this if he thought there was anything remotely wrong
      with it. Why? Nobody commits a crime for no reason, and they haven't given
      you a shred of evidence of why.




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(6/30/21 A.M. Transcript at 68:2-17) (emphasis supplied.) At the outset of his closing,

FILER’s counsel opined to the jury: “You get to hear a criminal case in federal court,

and unfortunately it's pretty dry.” (Id. at 59:11-13.) The government simply

responded to these arguments during rebuttal by noting that there is not a different

burden of proof applicable to successful defendants, and while there might be other

crimes that were less “dry” (to borrower FILER’s phrase), the government expended

resources prosecuting a corrupt lawyer in this case.13 Commenting on the $80,000


13   The specific rebuttal statements FILER complains of, in context, are:
         I -- at the very beginning, Mr. Safer apologized to you because you got brought
         in here. And I appreciate your sacrifice too. And he talked about it was no crime
         and it was essentially a boring civil case. I'm sure Mr. Filer would wish we
         spent our resources prosecuting street crime and not actually looking into the
         activities of corrupt lawyers, but that's what we did in this case.

(6/30/21 P.M. Transcript at 21:9-15.)

         Mr. Safer talked a lot about the impact on Ed and his success and his practice
         and everything like that. You're also not going to get an instruction that the
         burden of proof is higher to convict a successful person versus a regular guy.

(Id. at 21:21-24.)

         I don't know why Mr. Filer used that name [Ralph Prawat]. Frankly, that was
         stupid. But he's at a big firm. You see they've opened other companies. There's
         actually a company called CT that could be the agent. There's no reason to put
         somebody on. But what he was, you know what Prawat was? He was somebody
         who wasn't named Kelly. He was a last name other than Kelly that Mr. Filer
         knew it was his octogenarian father-in-law and wouldn't even know what was
         going on. And they just used the name. And they needed an address in Indiana.
         And was it stupid? Yes. But you think this is how a big firm lawyer that bills
         millions of dollars does, you just throw your father-in-law's name down on a
         document? Does that make any sense to you if this is legit? Of course, it doesn't.

(Id. at 27:6-19.)

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paid to Bivona was in no way improper; it was relevant to the credibility of Bivona’s

testimony. In short, it is not unfairly prejudicial for the government to counter the

arguments raised by a defendant.

      In sum, the verdict reached by the jury was entirely consistent with the

evidentiary record. FILER has failed to cite any well-founded basis for the Court to

grant a new trial under Rule 33.



VI. Conclusion

      For the reasons set forth above, the government respectfully requests that the

Court deny defendant FILER’s motions for a judgment of acquittal and a new trial.



                                              Respectfully submitted:

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